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B 210 A (Form 210 A) (12/     )



                         UNITED STATES BANKRUPTCY COURT
                                            __________ District Of __________

In re ________________________________,
      Alicia Wilson                                                                               Case No. ________________
                                                                                                            17-32312




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
US Bank Trust National Association, as Trustee                              Wilmington Savings Fund Society, FSB, as trustee of
                                                                            ____________________________________
______________________________________
of the SCIG Series III Trust
______________________________________                                      Carrington Mortgage Services, LLC
                                                                            ____________________________________
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): 5-1
should be sent:                                                             Amount of Claim: $160,152.85
C/O SN Servicing Corp.                                                      Date Claim Filed: 01/31/2018
323 5th Street
Eureka, CA 95501

Phone: ______________________________
       800-603-0836                                                         Phone:
Last Four Digits of Acct #: ______________
                            0718                                            Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
   /s/ Katie L. Greene                                                      Date:____________________________
                                                                                 04/10/2018
         Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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